     Case: 1:09-cv-01221 Document #: 58-4 Filed: 04/27/09 Page 1 of 2 PageID #:430




              IN THE UNITED STATES DISTRICT COURT FOR THE
            NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

BRADLEY J. SCHAUFENBUEL; et al.,                )
                                                )
                     Plaintiffs,                )
                                                )   Case No. 09-CV-1221
v.                                              )
                                                )
INVESTFORCLOSURES FINANCIAL,                    )   Judge Leinenweber
L.L.C.; et al.,                                 )
                                                )   Magistrate Judge Nolan
                                                )
                     Defendants.                )

                                   NOTICE OF FILING

TO:     ATTACHED SERVICE LIST

      PLEASE TAKE NOTICE that on April 27, 2009, I filed electronically with the
United States District Court for the Northern District of Illinois Plaintiff’s Second
Amended Complaint.

                                        PLAINTIFFS

                                        By: __/s/ Robert C. Thurston____
                                              One of Their Attorneys

Thurston Law Offices, P.C.                  Law Offices of Joel M Weiner, LLC
Robert C. Thurston                          Joel M. Weiner
A.R.D.C. No. 6209353                        579 N 1st Bank Drive Suite 150
10469 Bethel Avenue                         Palatine, IL 60067-8102
Huntley, IL 60142                           Phone: 847-654-3105
Phone: 847-659-8613                         Fax: 847-358-7165
Fax: 847-628-0930                           Email: jweiner@jweinerlaw.com
Email: tj@thurstonlawpc.com




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                            CERTIFICATE OF SERVICE

        I, Robert C. Thurston, an attorney, hereby certify that I served a copy of this
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                                        By: __/s/ Robert C. Thurston____



                                   SERVICE LIST

Attorneys For Defendants                    Attorneys For Defendant Deana M.
InvestForClosures Financial, L.L.C.;        Guidi; Darcey L. Martin; Tom Rodriguez
InvestForClosures.com, LLC;                 Charles A. Dunlop
InvestForClosures Ventures, LLC;            Russell W. Baker
Francis X. Sanchez; and James D.            Genevieve M. Lynott
Bourassa                                    Campion Curran Dunlop & Lamb, PC
Robert B. Christie                          8600 US Hwy 14, Suite 201
Jeffry M. Henderson                         Crystal Lake, IL 60012
Harris L. Kay                               (815) 459-8440
Henderson & Lyman                           cdunlop@ccdllaw.com
175 West Jackson Blvd, Suite 240            rbaker@ccdllaw.com
Chicago, IL 60604                           glynott@ccdllaw.com
(312) 986-6960                              ECF FILER
RChristie@henderson-lyman.com
jhenderson@henderson-lyman.com
ECF FILER

Defendant Scott D. Wessel                   Defendant Daniel E. Fitzgerald
Scott D. Wessel                             Daniel E. Fitzgerald
1700 Wicker St.                             606 Hapsfield Lane
Woodstock, IL 60098-2456                    Buffalo Grove, IL 60089-3364
NON-ECF FILER                               NON-ECF FILER

Defendant Scott Slagle
Scott Slagle
364 Gertrude St.
Elgin, IL 60123-7451
NON-ECF FILER




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